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                      IN THE UNITED ST1fiECEiD2T COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               NORTH	             13
                                            DEBRA P. HACKETT. CLK
                                             U.S. DISTRICT COURT
                                             MIDDLE DISTRICT ALA
GARY L. SMITH	                                       )
                                                     )
                          Plaintiff,	                )
                                                      )
V.
                                                          CASE NO.
                            )
AUTAUGA NORTHERN RAILROAD, )
LLC, WATCO COMPANIES, LLC,	 )
                            )
            Defendants.

                                    NOTICE OF REMOVAL
              Pursuant to the provisions of 28 U.S.C. § 1332, 1441, and 1446,

Defendants Autauga Northern Railroad, LLC ("Autauga Northern") and Watco

Companies, LLC ("Watco") (collectively hereinafter referred to as "Defendants")

file their notice of the removal of this action from the circuit Court of Chilton

County, Alabama, to the United States District Court for the Middle District of

Alabama, Northern Division. As grounds for this removal, Defendants state the

following:

              I.	   Ba.ckround Facts Pertaining to Removal

              1.	   Plaintiff Gary L. Smith ("Plaintiff") commenced this action by filing a

Complaint against the Defendants in the Circuit Court of Chilton County,




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Alabama, Civil Action Number 14-CV-2017-900080.00, which is a state court

within this judicial district.

               2.   In his Complaint, Plaintiff asserts claims for negligence (Count I),

wanton and reckless conduct, (Count II), negligent entrustment (Count III), failure

to warn (Count IV), and failure to maintain (Count V) against the Defendant. (See

Compl. at ¶J 14-30.) The gravamen of Plaintiffs Complaint is that his vehicle was

struck by a train on or about December 21, 2016, while traveling on County Road

17 at or near the intersection of the Autauga Northern Railroad railroad tracks in

the City of Maplesville, Alabama. (See id. at ¶ 6.)

               3.   Plaintiff alleges that as a result of the incident, he has suffered the

following injuries and damages:

               e	   serious injuries to his person which were attended by great physical
                    pain and mental anguish;

                    permanent injuries;

               • was caused and will be caused in the future to expend large sums of
                    money in the nature of doctor, hospital, drug and other medical
                     expenses in and about an effort to heal and cure said injuries;

               •	   was caused to be permanently unable to pursue many normal and
                    usual activities;

                    property damage; and

                    all other damages to which the Plaintiff may be entitled by law.

(See     Compi. at ¶13(a)-(e)).


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               4.	    There is complete diversity between the parties, and the amount in

controversy exceeds $75,000.00.

               II.	   Removal is Proper on the Basis of Diversity Jurisdiction.

               5.	    This case is properly removable pursuant to 28 U.S.C. § 1441, which

provides, in pertinent part, as follows:

               (a) Generally.--Except as otherwise expressly provided by Act of
               Congress, any civil action brought in a State ,court of which the
               district courts of the United States have original jurisdiction, may be
               removed by the defendant or the defendants, to the district court of the
               United States for the district and division embracing the place where
               such action is pending.

               (b) Removal based on diversity of citizenship.--

                      (1) In determining whether a civil action is removable on the
                      basis of the jurisdiction under section 1332(a) of this title, the
                      citizenship of defendants sued under fictitious names shall be
                      disregarded.
                      (2) A civil action otherwise removable solely on the basis of the
                      jurisdiction under section 1332(a) of this title may not be
                      removed if any of the parties in interest properly joined and
                      served as defendants is a citizen of the State in which such
                      action is brought.
               6. This action is properly removable under 28 U.S.C. § 1441 (a) and (b)

because this Court has original jurisdiction of this case under 28 U.S.C. § 1332(a),

which provides that the district courts of the United States have original

jurisdiction of civil actions between citizens of different states where the amount in

controversy exceeds $75,000, exclusive of interest and costs.




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               A.	   There is Complete Diversity of Citizenship Between the Parties.

               7.    Diversity of citizenship is determined by the citizenship of all

properly joined parties as of the date of the filing of the original complaint. See 28

U.S.C. § 1332 and 1441. "In determining whether a civil action is removable on

the basis of [diversity] jurisdiction..., the citizenship of defendants sued under

fictitious names shall be disregarded." See 28 U.S.C. § 1441(b)(1). As such, only

the following citizenships are relevant to the removal analysis: Plaintiff Gary L.

Smith and Defendants Autauga Northern Railroad, LLC and Watco companies,

LLc.

               8.    Per the allegations in the Complaint, Plaintiff is a resident citizen of

Alabama. (See Compl. atJ 1).

               9.    Defendant Autauga Northern is a Delaware limited liability company,

the citizenship of which is determined by reference to the citizenship of the entity's

"members." Rolling Greens MHP, L.P. v. Comcast SCH Holdings L.L.C., 374 F.3d

1020, 1022 (11th Cir. 2004). Autauga Northern Railroad, LLC is owned by Watco

Transportation Services, LLC, a Kansas limited liability company.' Watco

Transportation Services, LLC is owned by Watco Companies, LLC, a Delaware

limited liability company. Watco Companies, LLC is a limited liability company


        Attached hereto as Exhibit A is Secretary of State information for Autauga Northern
Railroad, LLC, Watco Transportation Services, LLC, Watco Companies, LLC, and Watco
Holdings Inc. in support of removal.



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owned by Watco Holdings, Inc. Watco Holdings, Inc. is a corporation incorporated

under the laws of the State of Kansas and its principal place of business is in the

State of Kansas .2

               10.   Therefore, for diversity purposes, Defendants Autauga Northern and

Watco Companies, LLC are citizens of the state of Kansas.

               11.   Plaintiff is a citizen of Alabama. Defendants are not—they are

citizens of Kansas for diversity purposes. Thus, as demonstrated by Plaintiff's own

allegations and the evidence submitted by Defendants, there is complete diversity

of citizenship between Plaintiff and Defendants.

               B.	   The Face of the Complaint Establishes That The Amount In
                     Controversy Exceeds $75,000 Exclusive of Interest and Costs.

               12.   Diversity jurisdiction's amount-in-controversy requirement is also

satisfied. See 28 U.S.C. § 1332.

               13.   Plaintiff's Complaint prays for "compensatory and punitive damages

in an amount to be determined by a jury of their peers plus interest and costs of this

matter." (Compl. at pp. 8-11). However, he does not demand a specific dollar

amount.

               14.   "When the complaint does not claim a specific amount of damages,

removal from state court is proper if it is facially apparent from the complaint that
               2
        Attached hereto as Exhibit B in support of removal is the Declaration of Michael Gray,
Assistant General Counsel for Watco Companies, LLC, explaining the corporate structure of
Defendants Autauga Northern Railroad, LLC and Watcô Companies, LLC.



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the amount in controversy exceeds the jurisdictional requirement." Shepherd v.

State Farm Fire and Cas. Co., 2012 WL 3139752, at *2 (N.D. Ala. July 30, 2012)

(Coogler, J.) (quoting Williams v. Best Buy Co., Inc., 269 F.3d 1316, 1319 (11th

Cir. 2001)) (finding defendant's removal proper where plaintiff demanded $41,550

for one claim and an "amount to be determined by a jury" for his other claim). See

also 28 U.S.C. § 1446(c)(2) (permitting defendant to assert amount in controversy

where initial pleading does not demand a specific sum of money or permits

recovery in excess of amount demand). The defendant need only show that the

amount in controversy exceeds $75,000 (exclusive of interest and costs) by a

"preponderance of the evidence." 28 U.S.C. § 1446(c)(2)(B).

               15. In making the amount in controversy determination, "Eleventh Circuit

precedent permits district courts to make reasonable deductions, reasonable

inferences, or other reasonable extrapolations from the pleadings to determine

whether it is facially apparent that a case is removable." See Roe v. Michelin N

Am., Inc., 613 F.3d 1058, 1061-62 (11th Cir. 2010) (internal citations and

quotation marks omitted). "[A] district court need not suspend reality or shelve

common sense in determining whether the face of a complaint establishes the

jurisdictional amount." Id. (internal citations and quotation omitted). See also

Smith v. State Farm Fire and Cas. Co., 868 F. Supp. 2d 1333, 1335 (N.D. Ala.




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2012) (Acker, J.) (relying upon "good sense and experience" in determining that

amount in controversy exceeded $75,000 exclusive of interest and costs).

               16.   In this case, it is facially apparent that the amount in controversy

exceeds the jurisdictional minimum. Plaintiff alleges that he suffered permanent

injuries and is "permanently unable to pursue many normal and usual activities."

(See Compl. at ¶13(d)). Plaintiff further alleges that he was "caused and will be

caused in the future to expend large sums of money" in medical expenses and

suffered property damage. (See id. at ¶ 1 3(c)(e)). Plaintiff's allegation regarding

the wanton and reckless nature of the Defendants' acts and prayer for

compensatory and punitive damages demonstrates that the award sought exceeds

the jurisdictional threshold.

               17.   Experience and common sense demonstrate that the amount in

controversy in this case exceeds $75,000.00. From 2002 to 2016, automobile

negligence cases in Alabama resulted in aggregate verdicts of $289,703,071 and an

average verdict of $153,770. See THE ALABAMA JURY VERDICT REPORTER (15th

Ed. February 2017) p. 53. Id. Given the nature of Plaintiff's allegations (a

train/automobile collision), and the jury verdicts in similar cases, it is facially

apparent that the jurisdictional amount in controversy requirement is satisfied.

               18.   Moreover, courts in this circuit routinely find that similar allegations

meet the $75,000 amount in controversy threshold. Compensatory damages in



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negligence and wantonness actions in Alabama have often resulted in substantial

recoveries for mental anguish and other harms well exceeding the $75,000.00

required for diversity jurisdiction. Jury verdicts in Alabama reflect the potential

magnitude of compensatory damages claims, including mental anguish, in

premises liability cases. Dolgencorp, Inc. v. Hall, 890 So. 2d 98, 99 (Ala. 2003)

(reversing judgment where jury had awarded a $100,000 general verdict, because

evidence failed to establish discount store's negligence or knowledge of the

condition, where drain cleaner spilled into plaintiffs face during her visit to

defendant's store); Wal-Mart Stores V. Thompson, 726 So. 2d 651, 655 (Ala. 1998)

(reversing as to wantonness claim but upholding jury verdict of $100,000 on

negligence claim, based on mental anguish, where footlocker fell and hit plaintiff

on head during her visit to defendant's store).

               19. Plaintiff's failure to allege that he is seeking less than $75,000 further

supports the conclusion that the amount in controversy requirement is satisfied.

See, e.g., Smith at 1335 (denying motion to remand in case where complaint did

not demand specific dollar amount of damages). In Smith, Judge Acker concluded

that, if a plaintiff "want[s] to pursue claims against diverse parties in a state court

seeking unspecified damages of various kinds," that plaintiff "will find herself in a

federal court" unless she "expressly disclaim[s] any entitlement to more than

$74,999.99 and categorically state[s] that plaintiff will never accept more." Id. See



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also Seckel v. Travelers Home and Marine Ins. Co., No 4:12-CV-4163-KOB, 2013

WL 360421, at *2 (N.D. Ala. Jan. 29, 2013) ("Without an affidavit from [plaintiff]

stating that he will not claim any more than $74,999.999 from [defendant] in

damages, this court has jurisdiction over the case and DENIES [plaintiff's] motion

to remand.").

               20.   In addition, Plaintiff seeks damages for allegedly wanton and reckless

conduct. (See Count II of Compl.). Courts in this circuit have noted that for

purposes of determining the amount in controversy, where a complaint "alleges

that the defendants acted wantonly. . the damages should be greater." Overton v.

Wyeth, Inc., No. CA 10-0491-KD-C, 2010 WL 4717048, at *4 (S.D. Ala. Oct. 29,

2010) report and recommendation adopted, 2010 WL 4716972 (S.D. Ala. Nov. 15,

2010) (internal citation omitted); see also Jones, 952 F. Supp. 2d at 1284 ("The

court may reasonably infer from this request that Ms. Jones is seeking greater

recovery than if she were merely seeking compensation for her injuries.")

               21.   Further, Plaintiff demands punitive damages. (See Compl. at pp. 8-

11.) "Punitive damages must be considered when determining the jurisdictional

amount in controversy in diversity cases." Mitchell v. Golden Living Nursing

Home, No. 2:16-CV-124-WFIA, 2016 WL 3406239, at *3 (M.D. Ala. June 15,

2016) (quoting Rae v. Perry, 392 F. App'x 753, 755 (11th Cir. 2010)); see also

Holley Equip. Co. v. Credit Alliance Corp., 821 F.2d 1531, 1535 (11th Cir. 1987)



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(in "determining the jurisdictional amount in controversy in diversity cases,

punitive damages must be considered . . unless it is apparent to a legal certainty

that such cannot be recovered.").

              22.   Punitive damages can elevate the amount in controversy significantly.

For example, in Blackwell v. Great American Financial Resources, Inc., 620 F.

Supp. 2d 1289, 1291 (N.D. Ala. 2009), the court found that the defendant had

satisfied its burden of proving the amount in controversy where the plaintiff was

seeking compensatory damages of $23,172.28 and punitive damages because "a

punitive award of slightly more than double the compensatory damages claim

would occasion an amount in controversy that exceeds the jurisdictional

minimum." See also Geodesic Consulting, LLC v. BB VA USA Bancshares, Inc.,

2015 WL 4985474, at *2 (N.D. Ala. 2015) (stating that the court did not need to

"overuse its common sense to conclude" that the amount in controversy exceeded

$75,000 where the plaintiff sought $35,840 in contract damages and asserted a

fraud claim seeking punitive damages). Thus, the fact that Plaintiff has sued for

conduct allowing for punitive damages is additional proof that the amount in

controversy easily exceeds the $75,000 jurisdictional minimum.

              C.	   Defendants Have Satisfied the Procedural Requirements for
                    Removal.

              23.   Removal is timely. Defendant Watco Companies, LLC was served

with the Summons and Complaint on April 25, 2017. Defendant Autauga Northern

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was served with the Summons and Complaint on April 26, 2017. (See Service

Return, Ex. Q. Accordingly, Defendants' Notice Of Removal is timely filed within

30 days. See 28 U.S.C. § 1446(b), Murphy Bros., Inc. v. Michetti Pipe Stringing,

Inc., 526 U.S. 344, 347-48 (1999). Defendant has not previously sought any

similar relief.

               24.   The United States District Court for the Middle District of Alabama,

Northern Division, is the court and division embracing Chilton County, Alabama

where this action is pending in state court. Venue therefore is proper under 28

U.S.C. § 1441(a).

               25.   True and correct copies of "all process, pleadings, and orders" from

the state court are attached hereto as Ex. C. See 28 U.S.C. § 1446(a); M.D. Ala. LR

81.1. No other process, pleadings, or orders have been served upon Defendants to

date in this case.

               26.   A true and correct copy of this Notice of Removal is being provided

to Plaintiff, through his counsel of record, and to the Circuit Court of Chilton

County, Alabama. See 28 U.S.C. § 1446(d).

               27.   Defendants reserve the right to supplement this Notice of Removal

and add any jurisdictional defenses to this Notice of Removal which may

independently support a basis for removal.

               III. Adoption And Reservation Of Defenses



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               28. Nothing in this Notice of Removal shall be interpreted as a waiver or

relinquishment of any of Defendants' right to assert any defense or affirmative

matter, including, but not limited to, the defenses of: (1) lack of jurisdiction over

the person; (2) improper venue; (3) insufficiency of process; (4) insufficiency of

service of process; (5) improper joinder of claims and/or parties; (6) failure to state

a claim; (7) the mandatory arbitrability of some or all of the claims; (8) failure to

join indispensable parties; or (9) any other pertinent defense available under Rule

12 of the Alabama or Federal Rules of Civil Procedure, any state or federal statute,

or otherwise.

               IV. Conclusion

               WHEREFORE, Defendants ask that this Honorable Court take jurisdiction

of this action and issue all necessary orders and process to remove this action from

the Circuit Court of Chilton County, Alabama, to the United States District Court

for the Middle District of Alabama, Northern Division.


Dated: May 24, 2017	                                     f6^
                                             Turner AJ Williams (ASB-6757-A53T)


                                             Attorney for Defendants
                                             AUTAUGA NORTHERN RAILROAD, LLC,
                                             WATCO COMPANIES, LLC




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                          CERTIFICATE OF SERVICE

       I hereby certify that I have served a copy of the foregoing by Notice of
Electronic Filing, or, if the party served does not participate in Notice of Electronic
Filing, by U.S. First Class Mail, hand delivery, fax or email on this the 24th day of
May, 2017:

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